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Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

 

For Witness: Juror Questioning
Procedure
Question: C aw WwW g \ Ke a i. Please write your question
. \ EE in a clear and legible manner.
A pl ml + Lon, Oo

 

77 “) 2. Your question must be
. \ oh " submitted in writing and using
M2 Vil wae) \ Cay) edi orr this form. Please do not
rey identify yourself in any way on
the form.

 

3. The Judge will make a
determination whether or not
the question is proper. The
Judge will use the same
standards that are applied to
questions offered by attorneys.
Existing rules of law, evidence,
and procedures apply to every
question that is asked.

 

 

 

 

4. The Judge may need to
modify the question to make it
conform to legal standards or to
make the question clearer to the
witness.

 

 

 

5. H the question can be
asked, the Judge will read it to
the witness at an appropriate
time before the witness is
excused.

 

 

 

 

 

Uf additional space is needed, please use the back of this form.

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Question No.

ACTION BY THE COURT: DC Permitted
DC Denied
OO Rephrased

 

 

 
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JURY QUESTION DURING DELIBERATIONS

QUESTION: Can we have a definition of “meaningful competition”?

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ANSWER: Synonyms for “meaningful” include “significant,” “important,” and “consequential.”

Instruction No. 15 has two references to the term “meaningful competition”:

“The government contends that the companies, through their respective Chief Executive Officers Kent
Thiry and Andrew Hayek, entered into agreements and understandings with the purpose of unlawfully
allocating the market by ending meaningful competition between the two companies for their senior
level employees.”

However, you may not find that a conspiracy to allocate the market for the employees existed unless
you find that the alleged agreements and understandings sought to end meaningful competition for the
services of the affected employees.

“Meaningful competition” essentially is another way of saying “significant competition” or “competition
of consequence.” Importantly, you should apply the term in the context of the rest of Instruction No.
15.

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